Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 1 of 53 Page ID #:317




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Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 8 of 53 Page ID #:324
Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 9 of 53 Page ID #:325
Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 10 of 53 Page ID
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Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 11 of 53 Page ID
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Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 17 of 53 Page ID
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Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 18 of 53 Page ID
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Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 19 of 53 Page ID
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Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 20 of 53 Page ID
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Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 21 of 53 Page ID
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Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 30 of 53 Page ID
                                  #:346
Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 31 of 53 Page ID
                                  #:347
Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 32 of 53 Page ID
                                  #:348
Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 33 of 53 Page ID
                                  #:349
Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 34 of 53 Page ID
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Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 40 of 53 Page ID
                                  #:356
Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 41 of 53 Page ID
                                  #:357
Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 42 of 53 Page ID
                                  #:358
Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 43 of 53 Page ID
                                  #:359
Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 44 of 53 Page ID
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Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 45 of 53 Page ID
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    COLD SHOULDER BABY SHIRT---PATPAT.COM




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                                                    Page 71Page
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   COLD SHOULDER BABY SHIRT---PATPAT.COM

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                               1-1 Filed    Filed 07/13/21
                                                    Page 72Page
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    COLD SHOULDER BABY SHIRT---PATPAT.COM




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                                                    Page 73Page
                                                           of 91 51Page
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Case 2:20-cv-11181-CAS-JPR Document 35-5 Filed 07/13/21 Page 52 of 53 Page ID
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